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 8                            UNITED STATES DISTRICT COURT

 9                           SOUTHERN DISTRICT OF CA1f FORNIA

10                                 June 2017 Grand Jury
11   UNITED STATES OF AMERICA,                Case No.       18 CB 36?6 JLS
12                                            I N D I C T ME N T

13         v.                                 Title 18, U.S.C., Sec. 371 -
                                              Conspiracy To Commit Bribery;
14   DAVID WILLIAMS HAAS,                     Title 18, U.S.C., Sec.
                                              201(b) (2) (A) and (C) - Bribery;
15                     Defendant.
                                              Title 18, U.S.C., Secs. 1349, 1346
16                                            and 1343 - Conspiracy To Commit
                                              Honest Services Fraud; Title 18,
17                                            U.S.C., Sec. 981 (a) (1) (C), and
                                              Title 28, U.S.C., Sec. 246l(c) -
18                                            Criminal Forfeiture
19

20        The grand jury charges that, at all times relevant:

21        1.     Defendant DAVID WILLIAMS HAAS,       ("HAAS") , was an active-duty

22   Officer in the United States Navy.        From September 2001 to June 2003,

23   as a Lieutenant Commander, HAAS was the Executive Officer onboard the

24   USS Blue Ridge, the command ship for the U.S. Navy's Seventh Fleet based

25   out of Yokosuka, Japan.       In this position, HAAS was responsible for the

26   safe operation,    upkeep,    and material   condition of      the Seventh Fleet

27   flagship,   as   well   as   command over U.S.   Navy officers        and      enlisted

28   sailors.    From June 2003 to June 2005, HAAS was the Command,                 Control,


     MWP:PAHO:nlv:San Diego:8/16/18
 1   Computer, Communications, Information, Surveillance and Reconnaissance

 2   Officer onboard the USS Essex,            an amphibious assault          ship based in

 3   Sasebo,    Japan.     In this position,     HAAS was responsible for leading a

 4   department of       over 160. U.S.    Navy officers and enlisted sailors and

 5   operating the ship's communications suite and all of the ship's self-

 6   defense combat systems.         From July 2005 until January 2008, HAAS, now

 7   as a Commander, held various additional positions of responsibility in

 8   the U.S.    Navy.     From February 2008 to September 2009,              HAAS was the

 9   Commanding Officer of the USS Thach, a U.S. Navy frigate based out of

10   San Diego, CA.      In this position, HAAS was responsible for all operations

11   of the ship and over 200 U.S. Navy officers and enlisted sailors                   unde~

12   his command.
13        2.     Following his promotion to Captain, from August 2011 to July
14   2013, HAAS was the Operations Officer for the U.S. Navy's Seventh Fleet,

15   a position also known by the moniker "N3" or Maritime Operations Center

16   Director,    onboard the USS Blue         Ridge.     In this position,         HAAS was

17   responsible for directing all Seventh Fleet operations including missile

18   defense, disaster relief and exercises, and administering a $1.5 billion

19   fuel budget.
20        3.     As an Officer in the United States Navy, HAAS was a "public

21   official"    within    the   definition    of    Title   18,    United    States   Code,

22   Section 20l(a) (1), and as such, HAAS owed a fiduciary duty to both the

23   U.S. Navy and the American public.

24        4.     Leonard Glenn Francis,        ("Francis") , charged elsewhere, was a

25   citizen of Malaysia,         residing in Singapore.            Francis was the Chief

26   Exe cu ti ve Officer and President of Glenn Defense Marine (Asia)              ( "GDMA") ,

27   a multi-national corporation with headquarters                 in Singapore.       As of

28   September    2013,    GDMA    had    operating     locations     in   many   countries,
                                                2
 1   including          Japan,   Thailand,     Malaysia,         Ko.rea,   Hong   Kong,     Indonesia,

 2   Australia,         Philippines,   and the United States.                GDMA' s main business

 3   involved the "husbanding" of marine vessels, a service it had provided

 4   across       the     Seventh   Fleet's     area       of     responsibility     under     various

 5   contracts with the U.S.            Navy for over 25 years.                   "Ship husbanding"

 6   involves       the      coordinating,      scheduling,          and    direct    and     indirect

 7   procurement of items and services required by ships and submarines when

 8   those vessels arrive at port.                 Examples of these i terns and services

 9   included,      among others,      tugboats;       fenders;       port authority or customs

10   fees; security; food; fuel; water; trash removal; collection, holding,

11   and transfer of liquid waste               ( "CHT") ; and transportation,              among many

12   others.

13           5.     Alex Wisidagama,         ( "Wisidagama") , charged elsewhere, a citizen

14   of Singapore, was GDMA's Global Manager for Government Contracts.
15           6.     Neil Peterson ("Peterson"),                 charged elsewhere,     a citizen of

16   Singapore, was GDMA's Vice President of Global Operations.
17           7.     Michael Misiewicz,         ("Misiewicz") ,        charged elsewhere, was an

18   active duty Commander in the United States Navy.                        From January 2011 to

19   2012, Misiewicz was the Deputy Operations Officer for the U.S. Navy's

20   Seventh Fleet,          also known by the moniker "N3B."                     In this position,

21   Misiewicz was HAAS'S second-in-command from August 2011 until December

22   2012, when Misiewicz left the Seventh Fleet.

23           8.     In an effort to build and solidify a corrupt relationship with

24   HAAS,    from in or about 2003 until 2011, Francis routinely entertained

25   HAAS throughout the Seventh Fleet area of responsibility, including by

26   throwing lavish parties at five star hotels and opulent restaurants,

27   plying HAAS with hotel rooms, entertainment, and alcohol, and providing

28   HAAS with the frequent services of prostitutes.
                                                       3
 1                                           Official Duties

 2        9.     HAAS, as an officer in the U.S.                   Navy, had and was assigned

 3   various official duties,              including, but not limited to those found in

 4   the United States Navy Regulations;                    Department of Defense Directive

 5   ("DoDD")    5500.07       (Standards of Conduct), DoDD 5500.07-R (Joint Ethics

 6   Regulations),      and supplements thereto,                including 5 C.F.R.      Part   2625

 7   (Standards of Ethical Conduct for Employees of the Executive Branch),

 8   and 5 C.F.R. Part 3601 (Supplemental Standards of Ethical Conduct for

 9   Employees    of    the    Department      of Defense);           and Executive Order 12674

10   (Principles of Ethical Conduct) .

11        10.    Among many others, the official duties of Officers in the U.S.

12   Navy include       (1)    acquainting themselves with,              obeying and,   so far as

13   their authority extends,              enforcing the laws,          regulations,    and orders

14   relating to the Department of the Navy;                    (2)    faithfully and truthfully

15   discharging the duties of their offices to the best of their ability in

16   conformance       with    existing      orders       and   regulations   and   their   solemn

17   profession of the oath of office (Article 1130); (3) requiring themselves

18   to show a good example of virtue, honor, patriotism, and subordination;

19   to be vigilant in inspecting the conduct of all persons who are placed

20   under their command; to guard against and suppress all dissolute and

21   immoral practices, and to correct, according to the laws and regulations

22   of the U.S.       Navy,     all persons who are guilty of them;                and take all

23   necessary and proper measures, under the laws, regulations and customs

24   of the naval services, to promote and safeguard the morale, the physical

25   well-being and the general welfare of the officers and enlisted persons

26   under their command or charge (Article 1131);                      (4) reporting as soon as

27   possible to superior authority all offenses under the Uniform Code of

28   Military Justice          ( "UCMJ")    which come under their observation (Articie

                                                      4
 1   1137);     (5)    complying with all directives                      issued by the Secretary of

 2   Defense and Secretary of the Navy regarding the Standards of Conduct and
 3   Government        Ethics   (Article      1110) ;       and    ( 6)     reporting        in writing any

 4   fraudulent,        collusion, or improper conduct by a U.S. Navy contractor

 5   (Article 1115) .

 6        11.         To perform his duties, HAAS held a "Secret" or "Top Secret"

 7   clearance as a prerequisite to handling various types of classified

 8   information.         Additional regulations prescribe the official duties of
 9   U.S. Navy Officers in the handling of classified information, including

10   DoDD 5200.02r, which requires among other duties that individuals having

11   access to classified information must promptly report to their security
12   office:     any     unauthorized      disclosure             to      any     person      of    classified

13   information or of other information, disclosure of which is prohibited

14   by Statute, Executive Order, or Regulation (C2.2.l.5); the disregard of

15   public    law,     Statute,     Executive Order,              or Regulation             (C2.2.1.7);         any

16   criminal     or     dishonest    conduct      ( C2 . 2 . 1. 8 ) ;      any       acts   of    omission       or

17   commission          that      indicate      poor             judgment,            unreliability,             or

18   untrustworthiness (C2.2.1.9); any vulnerability to coercion, influence,

19   or pressure that may cause conduct contrary to the national interest

20   (C2.2.1.11); and any acts of sexual misconduct or perversion indicative

21   of moral turpitude, poor judgment, or lack of regard for the laws of

22   society     (C2. 2 .1.17) .     Co-workers     shoulder              an equal       official         duty    to

23   report when "they become aware of information with potentially serious

24   security     significance        regarding         someone           with    access      to    classified

25   information" in a sensitive position (C9.l.5).

26        12.     DoDD 5240.06 prescribes the official duties of Department of

27   Defense     personnel,        including     HAAS,        related            to    counterintelligence

28   awareness        and reporting.       In particular,                 DOD personnel            must    report
                                                        5
 1   certain enumerated contacts,         activities,         indicators,     and behaviors as

 2   potential    foreign      intelligence    entity        threats   against      the   DOD,   its

 3   personnel, information, materiel, facilities, and activities or against

 4   U.S. national security.          Mandatory reporting obligations inure to the

 5   following activities: any improper handling or disclosure of classified

 6   information; attempts to entice co-workers into criminal situations that

 7   could lead to blackmail or extortion; attempts to entice DOD personnel

 8   into situations that could place them in a compromising position; and

 9   attempts     to   place    DOD   personnel       under     obligation    through      special

10   treatment, favors, gifts, or money.

11                                          Count 1
                                 Conspiracy To Commit Bribery
12
                                         (18   u.s.c.    §    371)
13

14        13.     The allegations in Paragraphs 1 through 12 of this Indictment

15   are hereby re-alleged and incorporated herein.

16        14.     From in our about October 2011 to September 2013, on the high

17   seas and out of the jurisdiction of any particular district, defendant

18   DAVID WILLIAMS HAAS,        ("HAAS") , a public official, U.S. Navy Commander

19   Michael    Misiewicz,      ("Misiewicz") ,       Leonard    Francis,     ("Francis") ,      and

20   others ( 1) knowingly and unlawfully combined, conspired, and agreed to

21   commit bribery; that is, HAAS, Misiewicz, Francis, and others knowingly

22   agreed that,      in return for HAAS and Misiewicz being influenced in the

23   performance of official acts and in return for HAAS and Misiewicz being

24   induced to do and omit to do acts in violation of their official duties,

25   as opportunities arose (a) Francis and others directly and indirectly,

26
     corruptly gave,      offered,     and promi.sed         things    of   value    to   HAAS   and

27
     Misiewicz,    including travel,       meals,       alcohol,      entertainment expenses,

28   hotel rooms, and the services of prostitutes; and (b) HAAS and Misiewicz

                                                  6
 1   would directly and indirectly, corruptly demand, seek, receive, accept,

 2   and agree to receive and accept these things of value; and (2)                          HAAS,

 3   Misiewicz, and Francis took overt acts in furtherance of this conspiracy

 4   and to effect its objects, all in violation of Title 18, United States

 5   Code, Sections 201 (b) (1) (A) and (C), and 201 (b) (2) (A) and (C).

 6                                    OBJECTS OF THE CONSPIRACY

 7           15.   It was an object of the conspiracy for HAAS and Misiewicz to

 8   use their official position and influence in the U.S. Navy to perform

 9   official acts; to exert pressure on other officials to perform official

10   acts;    and to advocate before and advise other officials,                     knowing and

11   intending that such advocacy and advice would form the basis for their

12   official acts; all to advance GDMA's interests, as questions, matters,

13   and controversies regarding GDMA's ship husbanding business were brought

14   to HAAS' s and Misiewicz' s attention; and in return, Francis and others

15   would offer and give a stream of benefits to or on behalf of HAAS and

16   Misiewicz,     including travel,         meals,     alcohol,    entertainment expenses,

17   hotel rooms, and the services of prostitutes.

18           16.   It   was    a   further    object     of   the   conspiracy     for    HAAS   and

19   Misiewicz to do and omit to do acts in violation of their official

20   duties, and in return, Francis and others offered and gave a stream of

21   benefits      to   HAAS    and   Misiewicz,     including      travel,      meals,   alcohol,

22   entertainment, hotel rooms, and the services of prostitutes.

23                             MANNERS AND MEANS OF THE CONSPIRACY

24           17.   In furtherance        of   this   conspiracy,      and   to    accomplish     its

25   objects, the following manners and means were used, among others:

26                 a.    Francis offered and gave a stream of benefits to HAAS and

27   Misiewicz, including travel, meals, alcohol, entertainment, hotel rooms,

28   and the services of prostitutes.

                                                     7
 1                b.   HAAS and Misiewicz sought, received, and accepted these

 2   things of value from Francis.

 3                c.   In return for this stream of things of value from Francis,

 4   HAAS and Misiewicz agreed to perform official acts; to exert pressure

 5   on other officials to perform official acts; and to advocate before and

 6   advise other officials,         knowing and intending that such advocacy and

 7   advice would form the basis for their official acts,                  all to advance

 8   GDMA' s   interests as questions,      matters,        and controversies        regarding

 9   GDMA's ship husbanding business were brought to HAAS'S and Misiewicz's

10   attention.

11                d.   HAAS and Misiewicz provided Francis with classified U.S.

12   Navy ship s.chedules.

13                e.   HAAS    and   Misiewicz       provided   Francis    with      internal,

14   proprietary U.S. Navy information.

15                f.   HAAS and Misiewicz exerted pressure on other U.S. Navy

16   officials,    and advocated for and provided advice to other U.S.                    Navy

17   officials,    knowing and intending that such advocacy and advice would

18   form the basis for such other officials' decisions to direct ships to

19   ports that were more lucrative for Francis and GDMA.

20                g.   HAAS    and   Misiewicz       took   official    acts   and     exerted

21   pressure on, advocated before, and provided advice to other U.S. Navy

22   officials,    knowing and intending that such advocacy and advice would

23   form the basis for such other officials' decisions to pay GDMA's claims,

24   overlook inflated invoices, suppress competition in contract awards, and

25   resolve   in GDMA' s     favor other questions,         matters,   and controversies

26   regarding GDMA's husbanding business.

27                h.   In return for this stream of benefits from Francis, HAAS

28   and Misiewicz were induced to do and omit to do acts in violation of
                                                 8
 1   their    official    duties,   including,       among   many others,   receiving    and

 2   failing to report others'        receipt of things of value from a defense

 3   contractor, a prohibited source; failing to guard against and suppress

 4   and correct dissolute and immoral               practices;   failing to promote and

 5   safeguard the morale, physical well-being, and general welfare of other

 6   U.S. Navy Officers; engaging in and failing to report violations of the

 7   UCMJ; and failing to report fraudulent and improper conduct by a U.S.

 8   Navy contractor.

 9               i.      In return for this stream of benefits from Francis, HAAS

10   and Misiewicz were induced to do and omit to do acts in violation of

11   their official duties with respect to classified information, including,

12   engaging in and failing to report acts of omission or commission that

13   indicate poor judgment, unreliability, or untrustworthiness; failing to

14   report vulnerability to coercion, influence, or pressure that may cause

15   conduct contrary to the national interests, and engaging in and failing

16   to report others' acts of sexual misconduct or perversion indicative of

17   moral turpitude, poor judgment or lack of regard for the laws of society.

18               j .     In return for this stream of benefits from Francis, HAAS

19   and Misiewicz were induced to do and omit to do acts in violation of

20   their official      duties with respect to foreign            intelligence threats,

21   including engaging in and failing to report others'               improper handling

22   and disclosure of classified information;               engaging in and failing to

23   report attempts to entice co-workers into criminal situations that could

24   lead to blackmail       or extortion;       engaging     in and   failing   to   report

25   attempts to entice DOD personnel into situations that could place them

26   in a compromising position; and failing to report attempts to place DOD

27   personnel under obligation through special treatment, favors, gifts, or

28   money.

                                                 9
 1                k.        HAAS    and   Misiewicz        identified       and    vetted    potential

 2   successors        in   their    corrupt       relationship      with     Francis,      evaluating

 3   candidates    for       their ability to perform official                    acts    on Francis' s

 4   behalf,    provide       Francis     with      classified       and    internal,      proprietary

 5   information, and exert pressure on, advocate before, and provide advice

 6   to other officials on questions, matters,                      and controversies regarding

 7   GDMA's     ship    husbanding        business,        knowing    and    intending       that   such

 8   advocacy and advice would                form the basis for            such other officials'

 9   decisions, as well as for their perceived discretion, and willingness

10   to accept items of value from Francis.

11                1.        HAAS    and   Misiewicz        sought    to    conceal       their   corrupt

12   relationship with Francis by communicating with Francis using private

13   email accounts, rather than their U.S. Navy accounts.

14                                              OVERT ACTS

15        18.     In furtherance of the conspiracy and to effect its objects,

16   the following overt acts, among others, were committed:

17                Al.       On or about November 5, 2011, while HAAS was the Director,

18   Maritime Operations            ("N3"),    Seventh Fleet Staff aboard the USS Blue

19   Ridge, Francis met with HAAS and Misiewicz at Francis's room at the Ritz

20   Carlton Hotel          in Tokyo,     Japan,    before taking them to dinner at                  the

21   hotel's Teppanyaki restaurant and providing them with prostitutes, at a

22   cost of over $20,000.
23                A2.       In Fall 2011,      Francis paid for a "50th Birthday" party

24   for the wives of HAAS and others.

25                A3.       On or about November 8, 2011, HAAS directed Misiewicz to

26   forward to Francis an internal U.S. Navy email regarding the arrangements

27   and schedule for an upcoming port visit to Manila, Philippines, by the

28   USS Fitzgerald.
                                                      10
 1                A4.    On or about November 24 to 25, 2011, a GDMA Manager, Ed

 2   Aruffo, charged elsewhere, provided HAAS with a suite at the New Sanno

 3   Hotel in Tokyo, Japan.

 4                AS.    On     or    about        November     25,    2011,     Misiewicz       emailed

 5   describing resistance to the                  idea of aircraft carrier port visits in

 6   Sepangar,    Malaysia,      but reassuring Francis,               "Believe me,       I've leaned

 7   hard on getting big decks to Sepangar .... Give me a little bit to work

 8   your plan, Big Bro."

 9                A6.    On or about December 20, 2011, in an email entitled, "Yet

10   Another Favor," HAAS requested that GDMA provide a hotel room for his

11   friend and friend's family at the New Sanno Hotel for ten days, beginning

12   on December 24, 2011.

13                A7.    On or about December 31, 2011, Misiewicz provided Francis

14   with classified U.S. Navy ship schedules.

15                AB.    On or about January 10, 2012, Misiewicz provided Francis

16   with     classified      U.S.    Navy    ship        schedules.      After    reviewing       these

17   schedules, Francis email.ed Misiewicz demanding that he u.se his position

18   and    influence    to     "swing"      the    USS     George    Washington    to    Port    Klang,

19   Malaysia instead of Singapore.

2O                A9 .   On     February       6,     2012,     Aruffo    paid     for    dinner     and

21   transportation for HAAS, Misiewicz, and others in Sapporo, Japan. Aruffo

22   also paid for lavish dinners for HAAS and his wife in Tomakomai, Japan,

23   and Tokyo, Japan, on other occasions in 2012.

24                AlO. On or about March 13, 2012, Francis sent HAAS proprietary

25   cost   information from          a   competing husbanding contractor                 in Chennai,

26   India,    along     with    an   unsolicited           proposal     that   GDMA     replace    that

27   competing contractor.            Misiewicz replied several hours later,                     copying

28   HAAS, telling Francis that he would discuss Francis's proposal with the

                                                       11
 1   acting Assistant Chief of Staff, Seventh Fleet, for supply and logistics.

 2   HAAS'S and Misiewicz's advocacy before, and advice to other U.S. Navy

 3   officials,    thereafter caused Francis to be invited to meet with the

 4   Seventh Fleet commander to press his proposal to replace the incumbent

 5   contractor in Chennai with GDMA.

 6                All. On or about March 25, 2012, Francis provided HAAS with a

 7   Horizon Club-level room for one night at the Makati Shangri-La Hotel in

 8   Manila, Philippines.

 9                Al2. On or about April 8,         2012, Misiewicz emailed two other

10   Seventh Fleet officers, copying HAAS, criticizing the Chennai port visit

11   handled by GDMA' s competitor.         Misiewicz wrote,     "Not in our    [his and

12   HAAS's]    lane, but who was HSP, did we go on the cheap and this is the

13   result, perhaps?       This time around let's make sure that the [After Action

14   Report]    is collected and preserved so we don't have a repeat the same

15   lessons/pain next time around... "

16                Al3. On     or   about    April     11,   2012'    Francis   provided

17   transportation and dinner for HAAS and Misiewicz in Yokosuka, Japan.

18                Al4. On or about May 11 to 15, 2012, during an event Francis

19   termed,    "Cinderella Liberty," Francis paid for rooms at the Shangri-La

20   Hotel     in Jakarta,    Indonesia,   for HAAS,    Misiewicz,   and others.     The

21   Cinderella Liberty festivities included dinner, entertainment at a night

22   club,   alcohol,   and the services of prostitutes in Misiewicz' s            hotel

23   suite where HAAS was present.

24                Al5. On or about May 25, 2012, Francis provided a vehicle and

25   hotel room for HAAS during a port visit in Laem Chabang, Thailand.

26                Al6. On or about June 29 to 30, 2012, in Tokyo, Japan, Francis

27   paid for a     two-day party for HAAS,         Misiewicz,   and others,   including

28   transportation, dinner at Nobu Restaurant, and entertainment at several

                                              12
 1   hostess clubs where the services of prostitutes were provided, all at a

 2   total cost of over $75,000.
 3                    A17. On or about August 2, 2012, during a dispute between GDMA

 4   and the port authority in Hakata,                 Japan,    HAAS advocated before,       and

 5   provided advice to the Assistant Chief of Staff, Seventh Fleet, on GDMA' s

 6   behalf, knowing and intending that such advocacy and advice would form

 7   the basis for the Assistant Chief of Staff's decisions.
 8                    Al8. From approximately August 17 to 21, 2012, during a port

 9 visit by the USS Blue Ridge to Busan, South Korea, Francis partied with

10   HAAS and Misiewicz, footing the bill for hotel rooms, dinner,                      drinks,

11   and the services of prostitutes.
12                    A19. On or about September 8, 2012, Misiewicz provided Francis

13   with a list of classified ship schedules.

14                    A20. By email on or about September 14, 2012,               despite U.S.

15   Navy     contracting      personnel's    concerns     about     exorbitant    costs,    HAAS

16   exerted pressure          on,   advocated before,          and provided advice     to    the

17   Assistant Chief of Staff, Seventh Fleet in favor of an aircraft carrier

18   port     visit     to   Sepangar,   Malaysia,      knowing    and   intending that      such
19   pressure,        advocacy and advice would form the basis for the Assistant

20   Chief of Staff's decisions.             HAAS wrote, "CoS certainly can over rule,

21   but too much riding on Sepanger wrt relationships with the RMN [Royal

22   Malaysian Navy]         and their national govt.           They have a ton planned and

23   have worked very hard to make this happen.                 Need to go [Course of Action]

24   1   or   2 [.]     [W] ould   recommend you pick up          the    phone   and call    GDMA

25   personally to get it from the horses mouth."
26                    A21. Misiewicz immediately forwarded HAAS'S September 14, 2012

27   email to Francis, who boasted to his staff, "love it when my plan falls

28
                                                  13
 1   in place like a Movie a GDMA Box Office Classic NAVSUP is IED in my

 2   Backyard. "

 3                 A22. On or about      September 15,   2012,   Francis and Peterson

 4   exchanged text messages about HAAS' s email to the Assistant Chief of

 5   Staff. Peterson wrote "Good one sir, HAAS pushing [the Assistant Chief

 6   of Staff's] buttons." Francis replied, "Correct we ambushed them ha ha.

 7   By IED."      The USS John C. Stennis did,       in fact, make a port visit to

 8   Sepangar, Malaysia from September 30 to October 4, 2012, for which GDMA

 9   billed the U.S. Navy over $3 million.

10                 A23. Following the USS George Washington's port visit to Port

11   Klang, Malaysia and the USS John C. Stennis's port visit to Sepangar,

12   Malaysia, Francis emailed HAAS'S and Misiewicz's personal email accounts

13   on or about October 14,         2012,     pressing them to exert    pressure and

14   advocate for Bali,     Indonesia as a port visit location for a U.S. Navy

15   aircraft carrier: "Bro' s, I planted Bali [port visit] with CTF 70             [USS

16   George Washington] during the [recent] PKCC [Port Klang] visits.              I did

17   the same with JCS [USS John C. Stennis] in Sepanger.           Let's work on Bali

18   []   for JCS,    Nimitz,   or GW.     I   look forward to this discussion next

19   weekend in Tokyo, rest well love you Bro's :) Missed you since Busan."

2o                 A24. In about November 2 012,     Francis sought assistance from

21   HAAS to fight accusations that GDMA had dumped untreated sewage in Subic

22   Bay, Philippines.     Through HAAS' s personal email ac.count, Francis sought

23   internal, proprietary information on how the U.S. Navy was handling the

24   accusations and asked HAAS to forward a pro-GDMA Philippine news article

25   to U.S. Navy personnel.       On or about November 22, 2012, HAAS emailed a

26   link to the article to the Assistant Chief of Staff,              Seventh Fleet,

27   falsely    stated that he had found         the pro-GDMA article    "online    last

28
                                                14
 1   night," and advocated that the Assistant Chief of Staff make others in

 2   the U.S. Navy aware of the article.
 3               A25. On or about November 23, 2012, in a follow up email, HAAS

 4   exerted pressure        on,   advocated before,    and     provided advice         to    the

 5   Assistant Chief of Staff against breaking the U.S. Navy's husbanding

 6   contract and replacing GDMA as the husbanding agent in the Philippines,

 7   knowing and intending that such pressure,               advocacy,     and advice would

 8   form the basis for officials' decisions.
 9               A26. On or about November 30, 2012, Francis provided a car and

10   driver for HAAS and Misiewicz from Yokosuka, Japan, to the Ritz Carlton

11   Hotel in Tokyo, Japan, where Francis was staying.                   In Francis's room,

12   with HAAS present, Misiewicz handed Francis an envelope of classified

13   long range Seventh Fleet ship schedules,                CTF-70 ship schedules,           and

14   Seventh   Fleet   organizational       charts.     The     schedules       were    stamped

15   "SECRET" and projected ship visits approximately 14 months in advance.

16   These classified schedules included information related to U.S.                         Navy

17   ballistic     missile     defense    operations    in    the     Pacific    and     remain

18   classified.

19               A27. After reviewing the ship schedules,                 Francis,     HAAS and

20   Misiewicz pored over the Seventh Fleet organizational chart, which HAAS

21   and Misiewicz     had brought       with them,    in an     effort    to   identify and

22   evaluate potential successors to the corrupt relationship with Francis
23   when Misiewicz departed the           Seventh Fleet,       the   following month,         in

24   December 2012.      Following these discussions,             Francis 'took HAAS          and

25   Misiewicz to a strip club where food and prostitutes were provided at a

26   cost of approximately $7,000.

27               A28. On or about February 5,           2013,    Francis emailed HAAS'S

28   personal email account to set up a meeting to elicit HAAS'S assistance
                                               15
 1   combatting allegations that GDMA was overbilling the U.S. Navy for ship

 2   husbanding services in Malaysia and to request updated ship "schedules

 3   for the coming months."

 4               A29. On or about February 7 to 8,          2013,    Francis paid for a

 5   two-day party,    in Tokyo,   Japan,   for HAAS,   and other officers,           during

 6   which Francis provided meals, entertainment, alcohol, and the services

 7   of prostitutes, at a total cost of over $30,000.
 8               A30. On or about February 16, 2013, Francis paid for a dinner

 9   for HAAS and his wife at Nobu restaurant in Tokyo, Japan.

10               A31. On or about June 4, 2013, during a USS Blue Ridge port

11   visit to Port Klang,    Malaysia,      Francis provided HAAS with dinner,              a

12   hotel room and spa treatment at the Shangri-La Hotel,                 Kuala Lumpur,

13   transportation, and the services of prostitutes.               Francis's charges at

14   the Shangri-La Hotel were approximately $4,800.

15               A32. On or about June 8,     2013, during a USS Blue Ridge port

16   visit to Changi Naval Base, Singapore, Francis entertained HAAS at the

17   Tiananmen   KTV nightclub     and   provided    HAAS   with     the   services    of   a

18   prostitute and hotel room at the Furama Hotel.
19               A33. On or about June 15, 2013, during a USS Blue Ridge port

20   visit to Jakarta, Indonesia, HAAS and another officer flew to Singapore,

21   where Francis entertained them at the Raffles Hotel and then at the

22   Tiananmen KTV nightclub where Francis provided them with the services

23   of prostitutes.    Francis's total cost was over $4,000.

24               A34. In or about June 2013,        HAAS used his official position

25   and influence in the U.S. Navy to perform official acts; exerted pressure

26   on other officials to perform official acts; and advocated before and

27   advised other officials, knowing and intending that such advocacy and

28   advice would form the basis for their official acts in a successful
                                             16
 1   effort to engineer a port visit by the George Washington Carrier Strike

 2   Group ("GWCSG") to Port Klang, Malaysia.                     On or about June 24, 2013, in

 3   an email to his staff after the Port Klang port visit was finalized,

 4   Francis wrote,         "Yes work on it and screw them nicely,                [t] he GWCSG is

 5   cqnfirmed     in October         approved      personally by Admiral          []       PACFLT   and

 6   proposed by my brother Capt Dave Hass N3 : ) His farewell present to me."

 7                 A35. On or about July 13, 2013, during a USS Blue Ridge port

 8   visit to Sydney, Australia, Francis provided hotel rooms for HAAS and

 9   other U.S. Navy officers at the Shangri-La Hotel, along with an expensive

10   dinner and the services of prostitutes.
                                                                           j

11                 A36. In an email dated September 10, 2013, after HAAS had left

12   the     Seventh    Fleet,       Francis     asked     HAAS     for   the   personal        contact

13   information       of    an     individual      they   had     identified    as     a     potential

14   replacement for HAAS and Misiewicz.

15   All in violation of Title 18, United States Code, Section 371.

16                                             Counts 2-7
                                                Bribery
17                                (18 U.S.C. § 20l(b) (2) (A) and (C))
18

19           19.   The allegations in Paragraphs 1 through 12 of this Indictment

20   are incorporated by reference.
21           20.   On or about the dates set forth in Column "A," on the high
22
     seas and outside the jurisdiction of any particular district, defendant
23
     DAVID     WILLIAMS      HAAS,     a   public    official,       directly    and        indirectly,
24
     corruptly demanded, sought, received, accepted, the things of value set
25
     forth in Column "B," in return for being influenced in the performance
26

27   of official acts and in return for being induced to do and omit to do

28   things in violation of his official duties, all as opportunities arose,
                                                      17
     including providing classified and other internal, proprietary U.S. Navy
 1
     information to Francis and GDMA,         and using his official position and
 2

 3   influence in the U.S. Navy to perform official acts; to exert pressure

 4   on other officials to perform official acts; and to advocate before and

 5   advise other officials,       knowing and intending that such advocacy and
 6
     advice would form the basis for their official acts;            all to advance
 7
     GDMA's    interests,    as questions,   matters,   and controversies regarding
 8
     GDMA's ship husbanding business were brought to HAAS'S attention, with
 9
     demand,     receipt,   and acceptance of each thing of value constituting a
10

11
     separate Count:

12    COUNT       "A" - DATE                  "B" - ITEMS OF VALUE

13      2         November 7,        Expenses for HAAS and Misiewicz for a
                     2011           night of partying at hostess and strip
14                                   clubs in Tokyo, totaling over $20,000
15      3        May 15, 2012      Expenses for HAAS, Misiewicz, and others
                                  for partying, alcohol, and the services of
16                                      prostitutes in Jakarta, Indonesia,
                                                totaling over $5,000
17      4        June 30, 2012     Expenses for HAAS, Misiewicz, and others
                                       for meals, alcohol, and partying at
18                                hostess and strip clubs in Tokyo, totaling
19                                                  over $75,000
        5        August 17-21,    Expenses for HAAS and Misiewicz for meals,
20                   2012          alcohol, and the services of prostitutes
                                      in Busan, South Korea, totaling over
21                                                     $10,000
        6        February 7-8,    Expenses for HAAS and others for a two-day
22                                     party in Tokyo that included meals,
                     2013
23                                alcohol, and the services of prostitutes,
                                               totaling over $30,000
24      7      June 3-4, 2013       Expenses for HAAS's stay at Shangri-La
                                     Hotel in Kuala Lumpur, Malaysia, and
25                                      services of prostitutes, totaling
                                                approximately $5,.000
26

27   All in violation of Title 18, United States Code, Section 201 (b) (2) (A)
28   and (C) .
                                              18
 1                                     Count 8
                     Conspiracy To Commit Honest Services Fraud
 2                         (18 u.s.c. §§ 1349, 1346, 1343)

 3        21.    The allegations in Paragraphs 1 through 12 of this Indictment

 4   are hereby re-alleged and incorporated herein.
 5        22.    From in or about October 2011 to at least September 2013, on

 6   the high seas and out of the jurisdiction of any particular district,

 7   defendant DAVID WILLIAMS HAAS, Leonard Francis, charged elsewhere, and

 8   others did knowingly and intentionally conspire and agree to devise a

 9   material scheme and artifice to defraud the citizens of the United States

10   and the U.S. Navy of their rights to HAAS'S honest, loyal, and faithful,

11   services,   decisions,     actions,      and      performance,     through    bribery   and

12   kickbacks and      the   concealment of        material      information;    and for    the

13   purpose of executing this          scheme,        defendants and their conspirators

14   transmitted and caused to be transmitted writings, signs,                     and signals

15   by means of wire communication in interstate and foreign commerce.

16   All in violation of Title 18, United States Code, Sections 1349, 1346

17   and 1343.

18                                FORFEITURE ALLEGATIONS

19        23.     The     allegations    set      forth    in     Counts   1   through   8   are

20   incorporated    by    reference    for    the      purpose    of   alleging    forfeiture

21   pursuant to Title 18,       United States Code,            Section 981 (a) (1) (C),     and

22   Title 28, United States Code, Section 2461(c).

23   II
24   II
25   11
26   11
27   II
28   II
                                                  19
 1         24.   Upon conviction of one or more of the offenses set forth in

 2   Counts 1 through 8,         defendant DAVID WILLIAMS HAAS,          shall forfeit all

 3   property,   real      and   personal,   which    constitutes   or    is   derived   from

 4   proceeds traceable to Counts 1 through 8 pursuant to Title 18, United

 5   States Code,     Section 981 (a) (1) (C),      and Title 28,   United States Code,

 6   Section 2461 (c),      including but not limited to a money judgment in an

 7   amount not less than the proceeds of the offenses in Counts 1 through 8.

 8         DATED: August 16, 2018.

 9                                                     A TRUE BILL:

10

11

12   ADAM L. BRAVERMAN
     United States Attorney
13

14   By:
           ~~~
           MA~ W. PLETCHER    '
15         Assistant U.S. Attorney
16

17   By:   f~    ('> / "
           PATCK HC5VAKIMI1\N
18         Assistant U.S. Attorney

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